         Case 19-02359-LA13               Filed 05/10/19          Entered 05/13/19 10:46:42        Doc 10      Pg. 1 of 1
CSD 1241 [12/01/15]




                                                                                                     May 13, 2019




                    UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
                    325 West F Street, San Diego, California 92101-6991


In Re
Ernestine B. Juhan                                                                                        19-02359-LA-13
                                                                                         Bankruptcy No.
                                                                          Debtor,




                                     ORDER DISMISSING CASE WITHOUT PREJUDICE
                                                                                    13
            It appearing from the Court records for the above-entitled Chapter            case that the debtor(s) has failed to
   file or move for an extension of time to file the document(s) identified below and in the Court’s Notice of Missing
   Schedule(s), Statement(s) and/or Chapter 13 Plan within the time permitted.
        Schedules and/or Statements
        Statement of Financial Affairs
        Summary of Assets and Liabilities and Certain Statistical Information
        Chapter 13 Statement of Current Monthly Income and Calculation of Commitment Period
        Chapter 13 Plan



            Therefor and for good cause showing,
            IT IS HEREBY ORDERED AND ADJUDGED THAT:
            1.   The above-entitled case is dismissed without prejudice.
            2.   All related adversary proceedings which are pending are also dismissed subject to the provisions of
                 Local Bankruptcy Rule 7041-2(a).
            3.   All stays now in effect for this case are vacated.



   DATED:
                 May 10, 2019




 DUE WITHIN 14 DAYS OF FILING
 as governed by Fed. R. Bankr. P 1007(a)(5), (b) and (c),
 3015(b), LBR 1017-3, and LBR 5005-4

 CSD 1241
